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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                      )
                                              )
    v.                                        )       USDC No. 21-cr-725-01 (RDM)
Jared Kastner,                defendant.      )

                              MOTION TO WITHDRAW

       Undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed by this Court under the Criminal

Justice Act, respectfully moves the Court to permit him to withdraw from further representation of the

defendant. Counsel notes the entry of an appearance by John M. Pierce, Esq., this 30th day of August, 2022.

Counsel contacted by phone the defendant to verify that he had retained Mr. Pierce to represent him and to

replace counsel as attorney of record. The defendant so verified.

       In the circumstances, counsel moves the Court to permit him to withdraw from further representation of

the defendant. Counsel also requests that the Court excuse counsel from attending the in-person hearing

scheduled for September 1, 2022, at 9:00 o’clock a.m.

       Counsel assures the Court that he will cooperate with new counsel and provide him expeditiously with

the file and other materials he has accumulated during the time counsel has represented the defendant.

       A proposed Order is attached.

       WHEREFORE, the defendant moves the Court to grant said relief.

                                        This pleading is,

                                    Respectfully submitted,

                                              /s/

                                       NATHAN I. SILVER, II
                                       Unified Bar #944314
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                                       Bethesda, MD 20817
                                       (301) 229-0189 (direct)
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                                       CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on Will Widman, Esq.,
U.S. Dept. of Justice - CRM, and John M. Pierce, Esq., this 30th day of August, 2022.

                                                 /s/
                                    _______________________________
                                          Nathan I. Silver, II
